           Case 2:18-cr-00024-TLN Document 77 Filed 02/20/19 Page 1 of 4

HEATHER E. WILLIAMS, #122664
Federal Defender
LINDA C. ALLISON, #179741
Assistant Federal Defender
Designated Counsel for Service
801 “I” Street, 3rd Floor
Sacramento, CA 95814
Linda_allison@fd.org
Attorney for Defendant
DONTE ROBINS


                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA


  UNITED STATES OF AMERICA,                         )    NO. 2:18-cr-00024-GEB
                                                    )
                         Plaintiff,                 )    STIPULATION AND [PROPOSED] ORDER
                                                    )    TO AMEND SPECIAL CONDITIONS OF
          v.                                        )    PRETRIAL RELEASE
                                                    )
  DONTE ROBINS, et al.,                             )
                                                    )
                         Defendants.                )    JUDGE:        Hon. Carolyn K. Delaney
                                                    )
                                                    )


       IT IS HEREBY STIPULATED between the parties through their respective counsel, Assistant
United States Attorney TIMOTHY DELGADO, Assistant Federal Defender LINDA C. ALLISON,
attorney for DONTE ROBINS, that Pretrial Services has proposed amending the conditions of the
defendant relating to his home detention. The parties, in consultation with pretrial services, agree that
the conditions should be modified as indicated in the attached proposed conditions.
Dated: February 15, 2019                                Respectfully submitted,
                                                        HEATHER E. WILLIAMS
                                                        Federal Defender
                                                        /s/ Linda C. Allison
                                                        LINDA C. ALLISON
                                                        Assistant Federal Defender
                                                        Attorney for Defendant
                                                        DONTE ROBINS
Dated: February 15, 2019                                McGREGOR W. SCOTT
                                                        United States Attorney

                                                        /s/ Linda C. Allison for
                                                        TIMOTHY DELGADO
                                                        Assistant United States Attorney
            Case 2:18-cr-00024-TLN Document 77 Filed 02/20/19 Page 2 of 4




                                          ORDER
      IT IS HEREBY ORDERED that the proposed amended conditions of pretrial release are hereby
modified.

Dated: February 19, 2019
           Case 2:18-cr-00024-TLN Document 77 Filed 02/20/19 Page 3 of 4




AMENDED SPECIAL CONDITIONS OF RELEASE
Re: Robins, Donte
No.: 2:18-CR-0024 GEB Date: February 13, 2019
1. You must report to and comply with the rules and regulations of the Pretrial Services Agency;

   2. You must reside at a location approved by the pretrial services officer and not move or
   absent yourself from this residence for more than 24 hours without the prior approval of the
   pretrial services officer;

3. You must cooperate in the collection of a DNA sample;

   4. You must restrict your travel to Eastern District of California unless otherwise approved
   in advance by the pretrial services officer;

   5. You must not apply for or obtain a passport or any other travel documents during the pendency
   of this case;

   6. You must not possess, have in your residence, or have access to a firearm/ammunition,
   destructive device, or other dangerous weapon; additionally, you must provide written proof of
   divestment of all firearms/ammunition currently under your control;

   7. You must refrain from excessive use of alcohol or any use of a narcotic drug or other
   controlled substance without a prescription by a licensed medical practitioner; and you must
   notify Pretrial Services immediately of any prescribed medication(s). However, medicinal
   marijuana prescribed and/or recommended may not be used;

   8. You must submit to drug and/or alcohol testing as approved by the pretrial services officer.
   You must pay all or part of the costs of the testing services based upon your ability to pay, as
   determined by the pretrial services officer;

   9. You must not associate or have any contact with any co-defendants unless in the presence
   of counsel or otherwise approved in advance by the pretrial services officer;

10. You must report any contact with law enforcement to your pretrial services officer within 24 hours;

    11. You must participate in the following location monitoring program component and abide by
    all the requirements of the program, which will include having a location monitoring unit installed
    in your residence and a radio frequency transmitter device attached to your person. You must
    comply with all instructions for the use and operation of said devices as given to you by the
    Pretrial Services Agency and employees of the monitoring company. You must pay all or part of
    the costs
of the program based upon your ability to pay, as determined by the pretrial services officer;
       Case 2:18-cr-00024-TLN Document 77 Filed 02/20/19 Page 4 of 4


1    12. CURFEW: You must remain inside your residence every day from 8:00 p.m. to 8:00 a.m.,
     or
2        as adjusted by the pretrial services officer for medical, religious services, employment or
3        court- ordered obligations

4       13. You must participate in the Better Choices court program and comply with all the
        rules and regulations of the program. You must remain in the program until released by a
5       pretrial services officer. In accordance with this condition, you must appear before the
6       Deborah Barnes, courtroom 27, on November 27, 2018, at 11:00am.

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